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                                                                  United States Bankruptcy Court
                                                                           Northern District of Georgia
 In re       Kevin M. Sykes                                                                                             Case No.   08-80782
                                                                                             Debtor(s)                  Chapter    13



                                                               AMENDMENT COVER SHEET
Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
1. Debtor amends Chapter 13 Plan to increase trustee payments from $650.00 per month to $1,200.00 per month and to reflect
arrears owed to Washington Mutual .
2. Debtor amends Schedules I and J to reflect new budget.




                                          NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES
Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the amendment(s) listed above has
been given this date to any and all entities affected by the amendment as follows:



 Date: 1/15/2009                                                                /s/ Lysander Woods
                                                                                Lysander Woods
                                                                                Attorney for Debtor(s)
                                                                                Lysander Woods Attorney at Law
                                                                                P.O. Box 1427
                                                                                Lilburn, GA 30048-1427
                                                                                (678) 380 - 5773 Fax:(678) 298 - 9594
                                                                                lysanderwoods@gmail.com




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B6I (Official Form 6I) (12/07)

 In re    Kevin M. Sykes                                                                               Case No.      08-80782
                                                                         Debtor(s)

               SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S) - AMENDED
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Single                                 None.

Employment:                                           DEBTOR                                                       SPOUSE
Occupation                         Manager
Name of Employer                   Brookstone Partners
How long employed                  6 years
Address of Employer                P.O. Box 490721
                                   Lawrenceville, GA 30049
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       4,300.00         $            N/A
2. Estimate monthly overtime                                                                             $           0.00         $            N/A

3. SUBTOTAL                                                                                              $        4,300.00        $             N/A

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $          550.00        $             N/A
     b. Insurance                                                                                        $            0.00        $             N/A
     c. Union dues                                                                                       $            0.00        $             N/A
     d. Other (Specify):                                                                                 $            0.00        $             N/A
                                                                                                         $            0.00        $             N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $          550.00        $             N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $        3,750.00        $             N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             N/A
8. Income from real property                                                                             $             0.00       $             N/A
9. Interest and dividends                                                                                $             0.00       $             N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             N/A
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             N/A
                                                                                                         $             0.00       $             N/A
12. Pension or retirement income                                                                         $             0.00       $             N/A
13. Other monthly income
(Specify):                                                                                               $             0.00       $             N/A
                                                                                                         $             0.00       $             N/A


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             0.00       $             N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $        3,750.00        $             N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                    $              3,750.00
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)

 In re    Kevin M. Sykes                                                                     Case No.    08-80782
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S) -
                                  AMENDED
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

 Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                      $                1,700.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                         $                  100.00
                   b. Water and sewer                                                                      $                   30.00
                   c. Telephone                                                                            $                   45.00
                   d. Other See Detailed Expense Attachment                                                $                   80.00
3. Home maintenance (repairs and upkeep)                                                                   $                   50.00
4. Food                                                                                                    $                  150.00
5. Clothing                                                                                                $                   20.00
6. Laundry and dry cleaning                                                                                $                   15.00
7. Medical and dental expenses                                                                             $                    0.00
8. Transportation (not including car payments)                                                             $                  150.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $                    0.00
10. Charitable contributions                                                                               $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                              $                    0.00
                   b. Life                                                                                 $                    0.00
                   c. Health                                                                               $                    0.00
                   d. Auto                                                                                 $                  210.00
                   e. Other                                                                                $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                 $                     0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                 $                     0.00
                   b. Other                                                                                $                     0.00
                   c. Other                                                                                $                     0.00
14. Alimony, maintenance, and support paid to others                                                       $                     0.00
15. Payments for support of additional dependents not living at your home                                  $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)           $                     0.00
17. Other                                                                                                  $                     0.00
    Other                                                                                                  $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                   $                2,550.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                       $                3,750.00
b. Average monthly expenses from Line 18 above                                                             $                2,550.00
c. Monthly net income (a. minus b.)                                                                        $                1,200.00
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B6J (Official Form 6J) (12/07)
 In re    Kevin M. Sykes                                                  Case No.   08-80782
                                                        Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S) - AMENDED
                                            Detailed Expense Attachment
Other Utility Expenditures:
Cell Phone                                                                           $               50.00
Cable                                                                                $               30.00
Total Other Utility Expenditures                                                     $               80.00
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B6 Summary (Form 6 - Summary) (12/07)

                                                   United States Bankruptcy Court
                                                         Northern District of Georgia
 In re    Kevin M. Sykes                                                                                 Case No.      08-80782
                                                                          Debtor(s)                      Chapter       13




                                                      SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of
all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities. Individual debtors also must complete the "Statistical
Summary of Certain Liabilities and Related Data" if they file a case under chapter 7,11, or 13.


                                           ATTACHED            NO. OF
NAME OF SCHEDULE                            (YES/NO)           SHEETS              ASSETS                LIABILITIES                  OTHER

A - Real Property                               Yes                1                  $250,000.00


B - Personal Property                           Yes                3                   $22,200.00


C - Property Claimed as Exempt                  Yes                8

D - Creditors Holding Secured
                                                Yes                2                                          $216,000.00
     Claims
E - Creditors Holding Unsecured
     Priority Claims                            Yes                1                                                 $0.00
(Total of Claims on Schedule E)
F - Creditors Holding Unsecured
                                                Yes                2                                             $2,637.14
      Nonpriority Claims
G - Executory Contracts and
                                                Yes                1
     Unexpired Leases

H - Codebtors                                   Yes                1

I - Current Income of Individual
                                                Yes                1                                                                      $3,500.00
      Debtor(s)
J - Current Expenditures of
                                                Yes                2                                                                      $2,850.00
      Individual Debtor(s)

                         TOTAL                                    22                  $272,200.00             $218,637.14
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Form 6 - Statistical Summary (12/07)

                                                                  United States Bankruptcy Court
                                                                           Northern District of Georgia
 In re       Kevin M. Sykes                                                                               Case No.    08-80782
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    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

            Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
report any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.


 Type of Liability                                                                                         Amount
 Domestic Support Obligations (from Schedule E)                                                              $0.00

 Taxes and Certain Other Debts Owed to Governmental Units
                                                                                                             $0.00
 (from Schedule E)
 Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                                                             $0.00
 (from Schedule E) (whether disputed or undisputed)
 Student Loan Obligations (from Schedule F)                                                                  $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                                             $0.00
 Obligations Not Reported on Schedule E
 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                                                                                                             $0.00
 (from Schedule F)
                                                                                             TOTAL           $0.00


State the following:
 Average Income (from Schedule I, Line 16)                                                                $3,500.00

 Average Expenses (from Schedule J, Line 18)                                                              $2,850.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line
                                                                                                          $4,000.00
 11; OR, Form 22C Line 20 )

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                          $0.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                                                                                                             $0.00
 column.
 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                                                                                                                                       $0.00
 PRIORITY, IF ANY" column
 4. Total from Schedule F                                                                                                         $2,637.14

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                     $2,637.14




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 In re       Kevin M. Sykes                                                                                       Case No.   08-80782
                                                                                             Debtor(s)            Chapter    13




                                                         AMENDED
                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                       I declare under penalty of perjury that I have read the foregoing document(s), consisting of               0     page(s),
             and that they are true and correct to the best of my knowledge, information, and belief.




 Date       1/15/2009                                                           Signature    /s/ Kevin M. Sykes
                                                                                             Kevin M. Sykes
                                                                                             Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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                                                                           Northern District of Georgia
 In re       Kevin M. Sykes                                                                                              Case No.   08-80782
                                                                                               Debtor(s)                 Chapter    13



                                                                      CERTIFICATE OF SERVICE
I hereby certify that on , a copy of Amended Plan and Schedules was served electronically or by regular United
States mail to all interested parties, the Trustee and all creditors listed below.

 Carmen V. Porreca, P.C.
 Credit One Bank
 First Premier Bank
 Household Bank Card Service
 NCO Financial Systems, Inc.
 United Community Bank
 Washington Mutual




                                                                                             /s/ Lysander Woods
                                                                                             Lysander Woods
                                                                                             Lysander Woods Attorney at Law
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